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                        UNITED STATES COURT OF APPEALS
                            FOR THE TENTH CIRCUIT


  RUSSELL G. GREER
                                                                  18-4075
          Plaintiff – Appellant,
  v.
                                                  STIPULATED JOINT MOTION OF
  GARY HERBERT, et al.,                               PLAINTIFF-APPELLANT
                                                       RUSSELL GREER AND
  Defendants – Appellees,                          DEFENDANTS-APPELLEES BEN
                                                      MCADAMS AND ROLEN
           Defendants/Appellees.                           YOSHINAGA




         Pursuant to Fed. R. App. P. 42(b), Plaintiff-Appellant Russell Greer, pro se, and

Defendants-Appellees Ben McAdams and Rolen Yoshinaga (collectively, the “County

Defendants”), by and through their attorney of record Jacque M. Ramos, hereby agree

and move this Court to voluntarily dismiss the County Defendants from this case with

prejudice. The Parties further agree to bear their own attorney’s fees, including costs, and

any other fees due, as between Plaintiff-Appellant Greer and the County Defendants.

         Respectfully submitted this 10th day of September, 2018.

/s/ Russell G. Greer                              /s/ Jacque M. Ramos
RUSSELL G. GREER                                  JACQUE M. RAMOS
Pro Se Plaintiff-Appellant                        Attorney for Defendants-Appellees
(Signed electronically w/ Permission)             Ben McAdams & Rolen Yoshinaga




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                                     CERTIFICATIONS

1. All required privacy redactions have been made.

2. Any required paper copies to be submitted to the court are exact copies of this version

   submitted electronically.

3. The electronic submission was scanned for viruses with the most recent version of IBM

   Big Fix Remote Control.

                                                    s/ Iris Pittman



                                CERTIFICATE OF SERVICE

          I hereby certify that on the 10th day of September, 2018, a true, correct and

   complete copy of the foregoing Stipulated Joint Motion of Plaintiff-Appellant Russell

   Greer and Defendants-Appellees Ben McAdams and Rolen Yoshinaga was filed with the

   Court and served on all counsel of record via the Court’s ECF system, as follows:

   David N. Wolf
   OFFICE OF THE UTAH ATTORNEY GENERAL
   P.O. Box 140856
   160 East 300 South, 6th Floor
   Salt Lake City, UT 84114-0856
   dnwolf@utah.gov
   Attorney for Defendants Gary Herbert, Sean D. Reyes, and Kathy Berg

   And was sent via email and first class mail, postage prepaid, to the following:
   Russell Greer
   6337 South Highland Drive, #209
   Holladay, UT 84121
   russmark@gmail.com
   Plaintiff

                                             s/ Iris Pittman
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